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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Wheeling

DIANA MEY, on behalf of herself and
a class of others similarly situated,

                             Plaintiff,

              V.                                            Civil Action No. 5:21-CV-62
                                                            Judge Bailey

MATRIX WARRANTY SOLUTIONS, INC.,
MATRIX FINANCIAL SERVICES, LLC,
SING FOR SERVICE, LLC,
JOHN DOE DEFENDANTS 1-5, and
HARDTACK, INC.,

                             Defendants.

                   ORDER DENYING DEFENDANTS MATRIX
             WARRANTY SOLUTIONS, INC. AND MATRIX FINANCIAL
         SERVICES, LLC’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Presently pending before this Court is Defendants Matrix Warranty Solutions,

Inc. and Matrix Financial Services, LLC’s Motion to Dismiss Plaintiffs Complaint [Doc. 20],

filed June 25, 2021. Plaintiff filed Plaintiffs Response in Opposition to Defendants’ Motion

to Dismiss [Doc. 33] on August 16, 2021. Defendants Matrix Warranty Solutions, Inc. and

Matrix Financial Services, LLC filed a Reply in Support of Their Motion to Dismiss [Doc. 40]

on August 30, 2021. The Motion is nowfully briefed and ripe for decision. Forthe reasons

that follow, the Court will deny the Motion.

                                          BACKGROUND

       This case arises out of the allegation that defendants violated the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C.        §   227. In the Complaint, plaintiff alleges


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“[d]efendants and their agents, acting as a common enterprise to promote and sell

extended consumer warranties, knowingly engaged in a pattern and practice of illegal

telemarketing in violation of the TCPA.” See [Doc. 1 at 1]. Plaintiff alleges that defendants

and their agents violated the TCPA in two ways: (1) by initiating calls to Ms. Mey and other

putative class members whose numbers are registered on the National Do Not Call

Registry and (2) initiating calls to Ms. Mey and other putative class members using artificial

or prerecorded messages. [Id. at 1—2]. Ms. Mey brings certain of her claims on behalf of

a proposed nationwide class of persons who also received illegal telephone calls from or

on behalf of defendants because the calls to Ms. Mey were transmitted using technology

capable of generating thousands of similar calls per day. See [Id. at 2].

       On July 25, 2021, defendants Matrix Warranty Solutions, Inc. and Matrix Financial

Services, LLC (“the Matrix Defendants”) filed the instant Motion and accompanying

Memorandum of Support [Docs. 20 & 21]. Therein, the Matrix Defendants state there are

“three threshold defects” that plaintiffs Complaint suffers from. First, plaintiffs Complaint

fails to allege a plausible basis for this Court to assert personal jurisdiction over the Matrix

Defendants.    See [Doc. 21 at 2 & 9—14].          Second, this Court lacks subject-mailer

jurisdiction over Count I of plaintiff’s Complaint. See [Id. at 14—20]. Third, even if this

Court could exercise personal jurisdiction over the Matrix Defendants or hear claims under

Count I of plaintiffs Complaint, this Court should dismiss the Complaint for its failure to

plausibly state any claims against the Matrix Defendants. See [Id. at 21—26].

       In response, plaintiff states the three arguments advanced by the Matrix Defendants

should be rejected for the following reasons:



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       First, the Matrix Defendants suggest that this Court is without personal

       jurisdiction because Matrix has insufficient contacts with the forum state. But

       Ms. Mey’s Complaint identifies two separate service contracts, each

       demonstrating thatthe Matrix Defendants regularly provide warranty services

       to consumers in the State of West Virginia. Because these contracts give

       rise to this litigation, personal jurisdiction exists.   Second, the Matrix

       Defendants suggest that the Supreme Court’s decision in Barr [v. Amer.

       Ass, of Political Consultants, Inc., 140 S. Ct. 2335 (2020)] deprives this

       Court of subject matter jurisdiction.         But this Court has already

       considered—and rejected—identical arguments in at least two recent cases.

       Matrix Defendants provide no basis for this Court to depart from its prior

       decisions.   Finally, despite moving under Rule 12(b)(6), the Matrix

       Defendants attempt to argue the merits of the case. But at this juncture, Ms.

       Mey need only plausibly allege that Matrix Defendants were responsible for

      the offending calls.

[Doc. 33 at 1—2].

      On August 30, 2021, the Matrix Defendants filed a Reply arguing that plaintiff’s

Opposition “fails to address the key arguments in the Matrix Defendants’ Motion to

Dismiss” and she “simply chooses to reprise her allegations about calls she received from

another party, and invites the Court to ignore applicable Supreme Court precedent

regarding the constitutional and pleading defects in [her] claims against the Matrix

Defendants, whom all parties agree have never made a single interaction with Plaintiff.”



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See [Doc. 40]. The Matrix Defendants lay out three arguments in their reply. First, the

Matrix Defendants allege that plaintiff fails to provide any factual support to show that this

Court may assert personal jurisdiction over them. See [Id. at 4—10]. Second, the Matrix

Defendants argue that plaintiff fails to refute their argument that this Court lacks subject-

matter jurisdiction over Count I of plaintiffs Complaint. See [Id. at 10—12]. Third, the

Matrix Defendants argue that plaintiff has failed to state a claim under Rule 12(b)(6). See

[Id. at 12—15].

                                    LEGAL STANDARDS

I.     Rule 12(b)(2)

       Once a defendant challenges personal jurisdiction, the plaintiff bears the burden of

producing facts that support the existence of jurisdiction. See Carefirst of Md., Inc. v.

Carefirsi Pregnancy Crisis Ctrs., Inc., 334 F.3d 390, 396 (4th Cir. 2003) (“When

personal jurisdiction is properlychallenged underRule 12(b)(2), the jurisdictional question

is to be resolved by the judge, with the burden on the plaintiff.”). Ultimately, plaintiffs must

establish personal jurisdiction by a preponderance of the evidence. New Wellington Fin.

Corp. v. Flagship Resort Dev. Corp., 416 F.3d 290,294(4th Cir. 2005); Carefirst of Md.,

Inc., 334 F.3d at 396. At this stage of the case, however, a plaintiff must establish a prima

facie case for the exercise of personal jurisdiction by pointing to affidavits or other relevant

evidence. See New Wellington Fin. Corp., 416 F.3d at 294; Carefirst of Md., Inc., 334

F.3d at 396.




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 II.   Rule 12(b)(1)

       A party may move to dismiss an action for lack of subject matter jurisdiction under

Federal Rule of Civil Procedure 1 2(b)(1). The burden of proving subject matter jurisdiction

on a Rule 12(b)(1) motion to dismiss is on the party asserting federal jurisdiction. A trial

court may consider evidence by affidavit, deposition, or live testimony without converting

the proceeding to one for summary judgment. Adams v. Bain, 697 F.2d 1213, 1219 (4th

Cir. 1982); Mims v. Kemp, 516 F.2d 21(4th Cir. 1975). Because the court’s very power

to hear the case is at issue in a Rule 12(b)(1) motion, the trial court is free to weigh the

evidence to determine the existence of its jurisdiction.        No presumptive truthfulness

attaches to the plaintiffs allegations, and the existence of disputed material facts will not

preclude the trial court from evaluating for itself the merits of jurisdictional claims. See

Materson v. Stokes, 166 F.R.D. 368, 371 (E.D. Va. 1996). Whenever it appears by

suggestion of the parties or otherwise that the court lacks jurisdiction of the subject matter,

the court shall dismiss the action. See Fed. R. Civ. P. 12(h)(3).

Ill.   Rule 12(b)(6)

       A complaint must be dismissed if it does not allege “enough facts to state a claim

to relief that is plausible on its face.” Bell Ati. Corp. v. Twombly, 550 U.S. 544, 570

(2007); see also Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir 2008) (applying the

Twombly standard and emphasizing the necessity of plausibility). When reviewing a

motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, the

Court must assume all of the allegations to be true, must resolve all doubts and inferences




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 in favor of the plaintiff, and must view the allegations in a light most favorable to the

 plaintiff. Edwards v. City of Goldsboro, 178 F.3d 231, 243—44 (4th Cir. 1999).

       When rendering its decision, the Court should consider only the allegations

 contained in the Complaint, the exhibits to the Complaint, matters of public record, and

 other similar materials that are subject to judicial notice.    Anheuser-Busch, Inc. v.

 Schmoke, 63 F.3d 1305, 1312 (4th Cir. 1995). In Twombly, the Supreme Court, noting

that “a plaintiffs obligation to provide the ‘grounds’ of his ‘entitlement to relief requires

 more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do,” Id. at 1964—65, upheld the dismissal of a complaint where the

plaintiffs did not “nudge[ J their claims across the line from conceivable to plausible.” Id.

at 1974.

       “Matters outside of the pleadings are generally not considered in ruling on a Rule

12 Motion.” Williams v. Branker, 462 F. App’x 348, 352 (4th Cir. 2012). “Ordinarily, a

court may not consider any documents that are outside of the Complaint, or not expressly

incorporated therein, unless the motion is converted into one for summary judgment.”

Witthohn v. Fed. ins. Co., 164 F. App’x 395,396(4th Cir. 2006). However, the Court may

rely on extrinsic evidence if the documents are central to a plaintiffs claim or are

sufficiently referred to in the Complaint. là. at 396—97.

                                       DISCUSSION

I.     Rule 12(b)(2)

       The Matrix Defendants argue that plaintiff’s claims against them should be

dismissed because this Court lacks personal jurisdiction over the Matrix Defendants.


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         “Rio validly assert personal jurisdiction over a non-resident defendant, two

conditions must be satisfied.” Christian Sci. Rd. of Dirs. of the First Church of Christ

v. Nolan, 259 F.3d 209, 215 (4th Cir. 2001). First, the exercise of jurisdiction must be

authorized by the long-arm statute of the forum state, and second, the exercise of personal

jurisdiction must not overstep the bounds’ of the Fourteenth Amendment’s Due Process

Clause. Anita’s N.M. Style Mexican Food, Inc. v. Anita’s Mexican Foods Corp., 201

F.3d 314, 317 (4th Cir. 2000).

         West Virginia’s long-arm statute extends to the constitutional maximum permitted

by the Due Process Clause. W.Va. Code         § 56-3-33; see also Touchstone Research
Lab., Ltd. v. Anchor Equip. Sales, Inc., 294 F.Supp.2d 823, 827 (N.D. W.Va. 2003)

(Stamp, J.). Thus, in West Virginia, the issue of personal jurisdiction is simple: whether the

exercise of personal jurisdiction would comport with the Due Process Clause.             See

Williams v. Adver. Sex LLC, 2007 WL 2570182, at *3 (N.D. W.Va. Aug. 31, 2007)

(Keeley, J.); see also Christian Sci. Rd. of Dirs. v. Nolan, 259 F.3d 209, 215 (4th Cir.

2001).

         The scope of this Court’s inquiry is therefore whether a defendant has “certain

minimum contacts” with the forum, such that “maintenance of the suit does not offend

traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326

U.S. 310, 316 (1945) (citations omitted). A defendant has minimum contacts with a state

when “the defendant’s conduct and connection with the forum State are such that he

should reasonably anticipate being haled into court there.” World-Wide Volkswagen

Corp. v. Woodson, 444 U.S. 286,297(1980). Under this standard, “it is essential in each


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case that there be some act by which the defendant purposefully avails itself of the

privilege of conducting activities within the forum State, thus invoking the benefits and

protections of its laws.” Hanson v. Denckla, 357 U.S. 235, 253 (1958).

       The analytical framework for determining whether personal jurisdiction exists differs

according to which type of personal jurisdiction—general or specific—is alleged.        See

generally ESAB Group, Inc. v. Centricut, Inc., 126 F.3d 617, 623—24 (4th Cir. 1997).

When a cause of action arises out of a defendant’s contacts with the forum, a court may

seek to exercise specific jurisdiction over a defendant that purposefully directs activities

toward the forum state and the litigation results from alleged injuries that arise out of or

relate to those activities. Burger King Corp. v. Rudzewicz, 471 U.S. 462,472—73(1985).

When the cause of action does not arise out of a defendant’s contacts with the forum,

general jurisdiction may be exercised upon a showing that the defendant’s contacts are of

a “continuous and systematic” nature.” Helicopteros Nacionales de Colombia, S.A. v.

HaIl, 466 U.S. 408, 416 (1984).

       A.     General Jurisdiction

       General jurisdiction is exercisable when the defendant has continuous and

systematic contacts with the forum state. ALS Scan, Inc. v. Digit. Sew. Consultants,

Inc., 293 F.3d 707, 712 (4th Cir. 2002). “General jurisdiction may be exercised when the

defendant has contacts with the forum jurisdiction that are ‘so constant and pervasive as

to render it essentially at home in the forum State.” Fidrych v. Marriott Int’l, Inc., 952

F.3d 124, 131—132 (4th Cir. 2020) (quoting DaimlerAG v. Bauman, 571 U.S. 117, 122

(2014)). A corporation is “regarded as at home [in] the forums where it is incorporated and



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where it has its principal place of business.” Fidrych, 952 F.3d at 132 (citing Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915(2011)). The hallmark of general

lurisdiction is that the defendants’ contact with the forum state is so extensive that it should

foresee being hailed into court. See World-Wide Volkswagon Corp. v. Woodson, 444

U.S. 286, 297 (1980).

       In the Complaint, plaintiff sets forth that defendant Matrix Warranty Solutions, Inc. is

a Nevada corporation with a principal place of business in Dallas, Texas, and defendant

Matrix Financial Services, LLC isa Delaware limited liability company with a principal place

of business in Dallas, Texas. See [Doc. 1 at 2]. Accordingly, this Court finds that it does

not have general personal jurisdiction over the Matrix Defendants.

       B.     Specific Jurisdiction

       Because this Court may not exercise general jurisdiction over the Matrix

Defendants, this Court must now consider whether specific jurisdiction will permit this Court

to exercise jurisdiction over the Matrix Defendants. Plaintiff alleges that this Court has

specific personal jurisdiction because the two separate service contracts demonstrate that

the Matrix Defendants regularly provide warranty services to consumers in West Virginia.

See [Doc. 33 at 1].

       The Fourth Circuit applies a three-part test when evaluating the propriety of

exercising specific jurisdiction: (1) whether and to what extent the defendant purposely

availed itself of the privileges of conducting activities in the forum state, and thus invoked

the benefits and protections of its laws; (2) whether the plaintiffs claims arise out of those

forum-related activities; and (3) whether the exercise of jurisdiction is constitutionally



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“reasonable.” Nolan, 259 F.3d at 215—16 (citing Helicopteros, 466 U.S. at 414—16;

Burger King, 471     u.s. at 472, 476—77).
       The first inquiry concerns whether a defendant has “purposefully avail[ed] itself of

the privilege of conducting activities within the forum State, thus invoking the benefits and

protections of its laws.” J. Mcintyre Mach., Ltd. v. Nicastro, 131 SCt. 2780,2788(2011)

(quoting Hanson, 357 U.S. at 253). The “purposeful availmenf’ element ensures that a

defendant will not be haled into court in a jurisdiction solely as a result of “random,”

“fortuitous,” or “attenuated” contacts or the unilateral activity of another person or third

party. Burger King, 471 U.S. at 475. Even a single contact with the forum state can

constitute purposeful availment sufficient to satisfy due process requirements. Id. at 475

n.1 8 (“So long as it creates a ‘substantial connection’ with the forum, even a single act can

support jurisdiction.”). The Fourth Circuit has held that a “single transaction is a sufficient

contact to satisfy [due processi if it gives rise to the liability asserted in the suit.” Hardy v.

Pioneer Parachute Co., 531 F.2d 193, 195 (4th Cir. 1976).

       The Matrix Defendants argue that plaintiff cannot establish purposeful availment

because plaintiff “has not shown that the Matrix Defendants have purposefully directed

themselves to this jurisdiction with respect to the calls third parties may have made to

Plaintiff.” See [Doc. 21 at 11]. The Matrix Defendants affached the declaration of Jay

Tuerk, the Matrix Defendants’ President, who has “personal knowledge, including

knowledge gained in [his] position as President of [the Matrix Defendants’].” See [Doc. 21-

1]. Tuerk asserts that: (1) Matrix Warranty is a Nevada corporation with its principal place

of business in Texas; (2) Matrix Financial is a Delaware corporation with its principal place



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of business in Texas; (3) the Matrix Defendants do not own or lease any property, or own

or maintain any assets, in West Virginia; (4) the Matrix Defendants have never conducted

business operations of any kind from West Virginia. See [Id. at 2—31. Furthermore, the

declaration also explains that defendant Matrix Warranty administers extended automobile

warranty plans, and defendant Matrix Financial acts as an insurer and guarantor for

anticipated liabilities under the extended automobile warranty plans administered by

defendant Matrix Warranty. [Id.1. Mr. Tuerk states that the Matrix Defendants do not

directly or indirectly initiate any outbound sales calls to consumers and did not directly or

indirectly initiate any of the alleged calls to plaintiff in April 2017, May 2017, June 2017 or

April 2020; however, the Matrix Defendants do concede that the only call to plaintiff that

they understand to have had any connection to a Matrix-administered product occurred in

April 2020. [Id.]. The declaration also states that “any allegation by Plaintiff that a

telemarketing call associated with a Matrix Warranty product was made ‘through one or

more intermediaries’ of, or ‘on behalf of,’ either of the Companies is erroneous because

the Companies do not confer that authority on telemarketing companies; nor do they

control (or have the right to control) those companies’ telemarketing practices, in large part

because, at the time telemarketing calls are initiated to potential customers, the

representatives have not yet accessed the available policies which are usually obtained

through conversations during which the consumers provide the vehicles’ make, model, and

mileage and other factors in the sales and marketing processes, such as the consumer’s

interests and budget.” [Id. at 6].

       In response, plaintiff argues that the Matrix Defendants have purposefully availed

themselves of the privilege of conducting business in West Virginia. See [Doc. 33 at 6].

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As an example, plaintiff states that the Matrix Defendants profit from their exposure to the

West Virginia market by offering warranty services to West Virginia consumers. See

[Id. at 6—8]. Moreover, relying on Burger King Corp. v. Rudzewicz, 471           u.s.   462, 476

(1985), plaintiff argues that even though the Matrix Defendants are not physically present

in West Virginia, personal jurisdiction is established because the Matrix Defendants

transact with West Virginia consumers. See [Id. at 8—9]. Furthermore, plaintiff argues that

a principal, the Matrix Defendants, may be held liable under the TCPA for the acts of an

agent, and because the third-party callers are alleged to have acted as the Matrix

Defendants’ agents when making the offending calls, those calls are attributed to the Matrix

Defendants for the purpose of determining personal jurisdiction. See [Id.].

       In reply, the Matrix Defendants argue that plaintiffs argument regarding specific

personal jurisdiction fails because she provides no evidence—nor can she—showing that

either of the Matrix Defendants purposefully directed or controlled any telephone calls to

plaintiff. See [Doc. 40 at 101.

       This Court disagrees. “[E]ven when a defendant does not ‘initiate’ a call, it ‘may be

held vicariously liable under federal common law principles of agency for TCPA violations

committed by [a] third-party.” Mey v. Venture Data, LLC, 245 F.Supp.3d 771, 786 (N.D.

W.Va. Mar. 29, 2017) (Bailey, J.) (quoting In the Matter of the Joint Petition Filed by

Dish Network, LLC, 28 FCC Rcd. 6574, 6584(2013)).

       The Matrix Defendants state that “[i]t is well established that in order to assert

specific jurisdiction through an agency theory of vicarious liability, the plaintiff must plead

plausible allegations to show that an agency relationship existed.” [Doc. 40 at 8].



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      However, as this Court laid out in Mey v. Venture Data, LLC:

             “In Charvat v. EchoStar Satellite, LLC, 630 F.3d 459, 468 (6th Cir.

      2010), the Sixth Circuit was faced with the issue of whether the TCPA and

      its accompanying regulations permitted a plaintiff to recover damages under

      Sections 227(b) and (c) from a defendant that did not place any illegal calls

      but whose independent contractors did so in attempts to sell the products

      and services of the defendant. The Sixth Circuit invoked the doctrine of

      primary jurisdiction and referred the mailer to the Federal Communications

      Commission (“FCC) to allow the agency to interpret certain provisions of the

     TCPA and its accompanying regulations. The FCC issued a declaratory

      ruling clarifying that, even though a seller may not have initiated or made a

      call under the TCPA, the seller may nonetheless be vicariously liable under

     the TCPA based on federal common law principles of agency for violations

      of Sections 227(b) and (c) that are committed when a third-party

     telemarketer initiates or places an unlawful call on behalf of the seller. In re

     Dish Network, LLC, 28 FCC Rcd. 6574, 2013 WL 1934349 (May 9, 2013).”

      Cunningham v. Kondaur Capital, 2014 WL 8335868, at S (M.D. Tenn.

     Nov. 19, 2014), report and recommendation approved, 2015 WL 1412737

     (M.D. Tenn. Mar. 26, 2015).

            The FCC opined that “a seller cannot avoid liability simply by

     delegating placing the call to a third-party. The FCC determined that ‘while

     a seller does not generally “initiate” calls made through a third-party



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      telemarketer within the meaning of the TCPA, it nonetheless may be held

      vicariously liable under federal common law principles of agency for

      violations of   [1 section 227(b)     ...   that are committed by third-party

      telemarketers.’ See Id. at 6574. This includes ‘a broad range of agency

      principles, including not only formal agency, but also principles of apparent

      authority and ratification.’ Id. at 6584.” Hossfeld v. Gov’t Employees Ins.

      Co., 88 F.Supp.3d 504, 510 (D. Md. 2015) (Quarles, I).

            The FCC also stated:

            mhe seller is in the best position to monitor and police TCPA

            compliance bythird-partytelemarketers.... We thus agreethat,

            consistent with the statute’s consumer protection goals,

            potential seller liability will give the sellerappropriate incentives

            to ensure that their telemarketers comply with our rules.... By

            contrast, allowing the sefler to avoid potential liability by

            outsourcing its telemarketing activities to unsupervised third

            parties would leave consumers in many cases without an

            effective remedy for telemarketing intrusions. This would

            particularly be so if the telemarketers were judgment proof,

            unidentifiable, or located outside the United States, as is often

            the case....    Even where third-party telemarketers are

            identifiable, solvent, and amenable to judgment, limiting liability

            to the telemarketer that physically places the call would make



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                  enforcement in many cases substantially more expensive and

                  less efficient, since consumers (or law enforcement agencies)

                  would be required to sue each marketer separately in order to

                  obtain effective relief.

          Melito v. Am. Eagle Ouffifters, Inc., 2015 WL 7736547, at *5 (S.D.N.Y.

          Nov. 30, 2015), quoting 28 FCC Rcd. at 6588.

          Even though the Matrix Defendants may not have directly called plaintiff, plaintiff has

provided sufficient facts for this Court to reasonably infer that the Matrix Defendants are

directly responsible for the telemarketing calls or that the calls were made by a vendor

underthe Matrix Defendants control. The allegations made by the plaintiff in her Complaint

plausibly connect the Matrix Defendants to the alleged calls and therefore are sufficient to

state a claim under the TCPA.

II.       Rule 12(b)(1)

          Second, this Court turns to the Matrix Defendants’ argument that the Court lacks

subject matter jurisdiction over Count I of the Complaint, which alleges violations of the

automated-call provision of the TCPA. As stated by the plaintiff, this Court has already

considered    —   and rejected   —   identical arguments on at least two occasions. See Mey v.

MedguardAlert, Inc., 2021 WL 1652945, at *2_3 (N.D. W.Va. Apr 27, 2021) (Bailey, J.);

Mey v. John Doe Defendant 4 et al., Civ. Act. No. 5:1 9-CV-237 [Doc. 126] (N.D. W.Va.

Apr. 23, 2021). This Court recently dealt with the same arguments regarding the impact

of Barr v. Amer. Assn. of Political Consultants, Inc. in Mey v. John Doe Defendant I,

et al.:



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             Certain defendants contend that Count I of plaintiffs Second

      Amended Complaint should be dismissed under Federal Rule of Civil

      Procedure 12(b)(1), because this Court lacks subject matter jurisdiction, in

      that § 227(b)(1 )(A) of the TCPA was unconstitutional during the time the calls

      on which plaintiff rests her claims were made.

             In Barr v. Amer. Assn. 01 Political Consultants, Inc., 140 S.Ct.

      2335 (2020) (“Barr”), the Supreme Court, in a fractured decision, held that

      the 2015 amendment to the TCPA exempting calls seeking collection of

      debts to the Government was unconstitutional.

             While the district courts are split on the issue of whether Barr has any

      effect on the liability of calls other than Government collection calls, the

      weight of authority appears to be to the effect that those calls and callers are

      unaffected by Barr.

             In Barr, “Justice Kavanaugh, joined by the Chief Justice and Justice

      Alito, concluded in Parts I and II that this amendment was unconstitutional

      because it favored debt-collection speech over political or other speech in

      violation of the First Amendment. 140 S.Ct. at 2342—48. In Part III, these

     three Justices concluded that the 2015 amendment should be severed

      leaving the bulk of the TCPA intact. Id. at 2348—56. Justice Sotomayor, who

     concurred, would have based Parts I and II on a different ground (applying

     intermediate as opposed to strict scrutiny to the speech) but concurred in the

     conclusion and in Part Ill with respect to severability.       Id. at 2356—57.



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      Justices Breyer, Ginsburg and Kagan, who dissented in part, disagreed that

      the amendment violated the First Amendment, but ultimately concurred with

      Part Ill finding the amendment severable. Id. at 2357—63. Justices Gorsuch

      and Thomas agreed with Parts I and II that the amendment was

      unconstitutional but dissented on the issue of severability. Id. at 2363—67.

      Thus, ‘[s]ix Members of the Court          ...   conclude[d] that Congress ha[d]

      impermissibly favored debt-collection speech over political and other speech

      in violation of the First Amendment’ and ‘[s]even Members of the Court

      conclude[dJ that the entire 1991 robocall restriction should not be invalidated,

      but rather that the 2015 government-debt exception must be invalidated and

      severed from the remainder of the statute.’ Id. at 2343.” McCurley v. Royal

      Sea Cruises, Inc., 2021 WL 288164(5.0. Cal. Jan. 28, 2021).

             As the Court noted, “the general rule is that ‘an unconstitutional

     statutory amendment “is a nullity” and “void” when enacted, and for that

     reason has no effect on the original statute.’ AAPC, 140 S.Ct. at 2353

     (quoting Frost v. Corp. Comm’n of OkIa., 278            u.s.   515, 526—27 (1929)).

     If the government debt exception provision was void at its inception in 2015,

     it would have no effect on the pre-2015 text of the statute. Since there are

     no constitutional defects to the pre-2015 text, the statute’s enforceability is

     unaffected by the amendment. The conduct at issue here was not impacted

     by the exception.” Less v. Quest Diagnostics Inc., 2021 WL 266548, at *1

     (N.D. Ohio Jan. 26, 2021)(Zouhary, J.).



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              In his decision, Justice Kavanaugh directly addressed the issue,

      stating:

              [Ajithough ourdecision means the end of the government-debt

              exception, no one should be penalized or held liable for

              making robocalls to collect government debt after the effective

              date of the 2015 government-debt exception and before the

              entry of final judgment by the District Court on remand in this

              case, or such date that the lower courts determine is

              appropriate.... On the other side of the ledger, our decision

              today does not negate the liability of parties who made

              robocalls covered by the robocall restriction.

      140 S.Ct. at 2355, n.12.

              The cases which are relied upon by the defendants dismissed the

      above footnote as dicta.      See Lindenbaum v. Realgy, LLC, 2020 WL

      6361915 (N.D. Ohio Oct. 29, 2020), Creasy v. Charter Comm’ns Inc.,

      2020 WL 5761117 (E.D. La. Sept. 28, 2020) and Hussain v. Sullivan

      Buick-Cadillac-GMC Truck, Inc., 2020 WL 7346536 (M.D. Fla. Dec. 11,

     2020).

              As noted in McCurIey, supra:

              Even if it was only dicta, as argued by Defendant, the district

              court is not at liberty to completely ignore this pronouncement.

              See, e.g., United States v. Montero-Camargo, 208 F.3d



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            1122, 1133 n.1 7 (9th Cir. 2000) (“Supreme Court dicta have a

            weight that is greater than ordinary judicial dicta as prophecy

            of what the court might hold; accordingly we do not blandly

            shrug them off because they were not a holding.”) (quotation

            omitted). The Eleventh Circuit articulately explained:

                  We have always believed that when the

                   Founders penned Article Ill’s reference to the

                  judicial power being rested ‘in one Supreme

                  Court and in such inferior Courts’ as Congress

                  may establish, they used ‘superior’ and ‘inferior’

                  as contrasting adjectives, with us being on the

                  short end of the contrast. It would never occurto

                  usfl to tell the Supreme Court that we would

                  decide our cases based on our analysis of its

                  decisions, not its own analysis of them if that

                  analysis had been announced in a case where it

                  was not essential to the result.... mhere is dicta,

                  and then there is Supreme Court dicta.

           Schwab v. Crosby, 451 F.3d 1308, 1325 (11th Cir. 2006)

           (citation omitted). The Eleventh Circuit cites numerous cases

           recognizing that “dicta from the Supreme Court is not

           something to be lightly cast aside.” Id.; see, e.g., McCoy v.



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            Mass. Ins, of Tech., 950 F.2d 13, 19(1St Cir. 1991) (“We think

            thatfederal appellate courts are bound bythe Supreme Court’s

            considered dicta almost as firmly as by the Court’s outright

            holdings, particularlywhen   ...   a dictum is of recentvintage and

            not enfeebled by any subsequent statement.”); Official

            Comm. Of Unsecured Creditors of Cybergenics Corp. v.

            Chinery, 330 F.3d 548, 561 (3rd Cir. 2003) (en banc)

            (“Although the Committee is doubtless correct that the

            Supreme Court’s dicta are not binding on us, we do not view

            it lightly.”); Wynne v. Town of Great Falls, 376 F.3d 292, 298

            n.3 (4th Cir. 2004) (“[W]ith inferior courts, like ourselves

            carefully considered language of the Supreme Court, even if

            technically   dictum,   generally        must    be   treated   as

            authoritative.”); United States v. Becton, 632 F.2d 1294,1296

            n.3 (5th Cir. 1980) (“We are not bound by dicta, even of our

            own court.... Dicta of the Supreme Court are, of course,

            another matter.”).

     McCurley, 2021 WL 288164, at *3

            Most telling, in American Assoc. of Political Consultants, Inc. v.

     FCC, 923 F.3d 159(4th Cir. 2019), the decision which was affirmed by Ban,

     the Court held:




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            The Plaintiffs maintain in their appellate submissions that the

            constitutionally flawed debt-collection exemption invalidates

            the entirety of the automated call ban, rendering severance of

            the debt-collection exemption improper.          The Government

            argues, however, that the controlling authorities require a

            severance of the exemption from the automated call ban.

                   For several reasons, we agree with the Government on

            the severance issue. First and foremost, the explicit directives

            of the Supreme Court and Congress strongly support a

            severance of the debt-collection exemption from the

            automated call ban.       Furthermore, the ban can operate

            effectively in the absence of the debt-collection exemption,

            which is clearly an outlier among the statutory exemptions.

                   In circumstances such as these, the Supreme Court has

            recognized that severance is the preferred remedy. As the

           Chief Justice explained in the Court’s NFIB v. Sebelius

           decision, if Congress wants the balance of a statute to stand

           when one aspect is constitutionally flawed, a reviewing court

           “must leave the rest of the [statute] intact.” See 567 U.S. 519,

           587 (2012). By severing the flawed portion of a statute, the

           court can limit the impact of its ruling of constitutional infirmity.

           See Ayofte v. Planned Parenthood of N. New Eng., 546



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            U.S. 320, 328 (2006); United States v. Under Seal, 819 F.3d

            715, 721—22 (4th Cir. 2016) (recognizing that severance of a

            flawed portion of a statute prevents a court from nullifying too

            much of that enactment). The general rule is thus “‘that partial

              invalidation [of a statute] is the required course.” See Free

            Enter. Fund v. Pub. Co. Accounting Oversight Rd., 561

            U.S. 477,508 (2010) (quoting Brocketi v. SpokaneArcades,

           Inc., 472 U.S. 491, 504(1985)).

                    Complementing the Supreme Court’s strong preference

           for a severance in these circumstances, Congress has

           explicitly mandated that, if a TCPA provision is determined to

           be constitutionally infirm, severance is the appropriate remedy.

           That is, Congress has directed that, if any part of the TCPA ‘is

           held invalid, the remainder     ...   shall not be affected.” See 47

           U.S.C.   § 608.   That severability provision eases our inquiry on

           the severance issue and creates “a presumption that Congress

           did not intend the validity of the statute in question to depend

           on the validity of the constitutionally offensive provision.” See

           Alaska Airlines, 480 U.S. at 686 (citing INS v. Chadha, 462

           U.S. 919, 932 (1983)).         As a result, severance of the

           debt-collection exemption from the balance of the automated




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            call ban will comply with the explicit directive of Congress and

            with controlling Supreme Court precedent.

                   We are also satisfied that a severance of the

            debt-collection exemption will not undermine the automated

            call ban.   For twenty-four years, from 1991 until 2015, the

            automated call ban was fully operative.” Free Enter. Fund,

            561 U.S. at 509 (citations and internal quotation marks

            omitted). As a result, the Plaintiffs simply cannot show that

            excising the debt-collection exemption will hamperthe function

            of the ban. See Alaska Airlines, 480 U.S. at 686 (explaining

            that only “strong evidence” overcomes presumption created by

            severability clause). In these circumstances, we agree with the

            Government and direct the severance of the debt-collection

            exemption from the balance of the automated call ban.

     Am. Ass’n of PoL Consultants, Inc. v. Fed. Commc’ns Comm’n, 923 F.3d

      159, 171 (4th Cir. 2019), aff’d sub nom. Barr v. Am. Ass’n of Pol.

      Consultants, mc, 140 S.Ct. 2335 (2020).

            Those courts which have found the TCPA to be valid with regard to

     non-Government debt calls, even in light of Barr, include McCurley, supra;

     Less v. Quest Diagnostics Inc., 2021 WL 266548 (N.D. Ohio Jan. 26,

     2021); Stoutt v. Travis Credit Union, 2021 WL 99636 (E.D. Cal. Jan. 12,

     2021); Rieker v. Nat’L Car Cure, LLC, 2021 WL 210841 (N.D. Fla. Jan. 5,



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        2021); Trujillo v. Free Energy Say. Co., LLC, 2020 WL 8184336 (C.D. Cal.

        Dec. 21, 2020); Shen v. Tricolor California Auto Group, LLC, 2020 WL

       7705888 (C.D. Cal. Dec. 17, 2020); Abramson v. Federal Ins. Co., 2020

       WL 7318953 (M.D. FIa. Dec. 11,2020), Buchanan v. Sullivan, 2020 WL

       6381563 (D. Neb. Oct. 30, 2020); Schmitt v. AmerAssist AIR Solutions

       inc., 2020 WL 6135181 (D. Ariz. Oct. 19, 2020); Canady v. Bridgecrest

       Acceptance Corp., 2020 WL 5249263 (D. Ariz. Sept. 3,2020); Komaiko v.

       Baker Techs., Inc., 2020 WL 5104041 (N.D. Cal. Aug. 11, 2020); and

       Burton v. Fundmerica, inc., 2020 WL 4504303 (D. Neb. Aug. 5, 2020).

               For all the reasons stated above, this Court finds that the TCPA,

       except for the 2015 amendment, remains and remained in full force and

       effect throughout its tenure.

Mey v. John Doe Defendant let al, Civ. A. No. 5:19-CV-237 IDoc. 126 at 20—27], (N.D.

W.Va. April 23, 2021) (Bailey, J.). This Court finds no reason to deviate from the above

analysis.

III.   Rule 12(b)(6)

       Third, this Court has construed the Complaint in the light most favorable to the

plaintiff forthe purposes of deciding the Matrix Defendants’ motion to dismiss. In doing so,

this Court finds that plaintiff’s Complaint asserts sufficient factual allegations against the

Matrix Defendants to survive the Matrix Defendants’ Rule 12(b)(6) motion for dismissal.

This Court finds that the plaintiff’s Complaint asserts factual allegations against the Matrix

Defendants sufficient to “raise a right to relief above the speculative level.” Twombly, 550



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U.S. at 555. In order to properly state a claim for relief, plaintiff is required to provide a

“short and plain statement of the claim” that gives defendants “fair notice of what the claim

is and the grounds upon which it rests.” Id. Plaintiff has met this standard and her claims

are pled with sufficient specificity.

                                        CONCLUSION

       For the reasons stated above, Defendants Matrix Warranty Solutions, Inc. and

Matrix Financial Services, LLC’s Motion to Dismiss Plaintiffs Complaint [Doc. 20] is

DENIED.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein.

       DATED: September 2, 2021.




                                           UNITED STATES DISTRICT JUDGE




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